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                          THIS DEED ismade this 30* day cfApril. 2004,by and between UNIVE SITY

          oFVIRGINIA FOIJNnATION,aVi
                                   rginianon-stockcorporation,successorbymergerto Univ rsity
          ofVirginiaRealEstateR undation,Grantor,andW ILLIAU Z M osEs*od IN TRICIA M .K GE,
          husband and wife,Orantees,whose address is 355 Al% marle House Drivc,Charlottc ill
                                                                                           e.
          Virginia22902.
                                                 W IT N E S S E T H:

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                          FHAT,FOR AND I
                                       N CONSIDERATION ofthesum ofTen Dollars($1 ,00),
          cash itlhand paid,and othergood and valuable consideration.the sum ciency and rece tof
          which are hereby acknowledged. and pursuant lo that cert
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          Designation,No6ceand AcknowledgementdatedasofApril/d,2004,theGrantordoes reby
          GRANT and CONVEY with SPECIAL W                      NTY unto W illimn J,M oses and Raei a M .
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          incommon,andsubjecttothefollowingmatters,thefollowingdescribedproperty,to-w (tbe
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                          PARCEL TWO (FMP J#J-J* : A1lthatcertain tract orparceloflan witb
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                  theResidut,PzrqelM andP:rcelz d%sqotpl:tsaidparcels.
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                  PARCEL THREE (TMP 1#J-1C); AI1thatcertain Icîor parcelof land,with
                  improvements thtrelm and appurt
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                                                                           42 acres,more orless,
                  shownonaplatby Willi:m S.Roudabusà,Jr.&andAssociates.CedifiedLand Surv ors,
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                                              erk's Oflke ofthe Cimui tCoud of Albemarle C nty,
                  Vlrgiôia.inDeedBx k324,page74.
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                                                         ain tract or parcel of land. witb
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                  PARCEL SEVEN (TMP J#J-;G2) Alltlulçertain lotor parcelof lind with
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     ParcelOne.ParctlTwo,ParcelThree,ParcelFour,Parce!Five,ParcelSix and ParctlSev n are
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     JWK Properties.Inc.(sometimesreferredtoasJ.W.K.Properties,lnc,),aDelawareco             ation
     authorizedto do businessinVirginia.datedJanuary8,2001,andrecordedin such Clcrk's ffice




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in Deed Book 2029,page 237. University ofVirginia Foundation is successor by mer rto
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existing road foringressandegressto andfrom theradio towerand SuteRoute627.reserv d by
J.W .K.Properties,lnc.qby deed dated January 8,2001,recorded in such Clerk'sOfscein eed
Book2029.page227.
               ThePromrtyherebyconveyedisfurthersubjrd toaLeasetoPatriciaM. uge,
dated June l3.1990,as to which a Memorandum ofLeaseisrecorded in the Clerk's O        eof
the CircuitCoun ofAlbemarleCountyin DeedBock l105,page l93.
               The Propeo hereby conveyed is further subject to any and a1lease ents,
reslrictions.reservations.and conditions ccntained in duly recorded deeds,platsand ther
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which have notexpired by a time limitation contained therein or have nototherwise b ome
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               W ITNESS thefollowingduly authcrized signatnreand seal:
                                   UNIVERSITY 0FVIRGINIA FOUNDATION
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                WILLIAM Z MOSES and PATRICIA M.KLUGE,husband and wife (togeth ,the
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